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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                   Case No.: 0:16-cv-61729-DPG

  SYMBOLOGY INNOVATIONS, LLC,

         Plaintiff

  v.

  BROTHER INTERNATIONAL
  CORPORATION,

         Defendant.

                                STIPULATION OF DISMISSAL

         Plaintiff SYMBOLOGY INNOVATIONS, LLC, (“Symbology”) and Defendant

  BROTHER INTERNATIONAL CORPORATION (“Brother”), by and through their

  undersigned counsel, and pursuant to Fed.R.Civ.P. 41(a)(1)(ii), stipulate to the dismissal of all

  claims brought by Plaintiff Symbology in this action, with prejudice, with each party to bear its

  own costs, attorneys’ fees and expenses.

  Dated: January 17, 2017                       Respectfully submitted,


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                                  CERTIFICATE OF SERVICE


          The undersigned does hereby certify that on January 17, 2017, a true and correct copy of
  the foregoing document was sent via electronic mail by the Court’s CM/ECF System to all
  parties listed below on the Service List.

                                              /s/ Jerold I. Schneider
                                              JEROLD I. SCHNEIDER

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